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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN

__________________________________________

JOHN HEYKOOP            D/B/A    EAGLE
TOWING,

      Plaintiff,

v                                             Case No.: 1:18-cv-00632

MICHIGAN STATE POLICE, and CAPT.              Hon. Robert J. Jonker
DAVID ROESLER, COMMANDER,
DISTRICT 6, MICHIGAN STATE                    Mag. Phillip J. Green
POLICE; FIRST LIEUTENANT
JEFFREY WHITE; FIRST
LIEUTENANT CHRIS MCINTIRE.

Defendants.
__________________________________________/

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__________________________________________/

PLAINTIFF’S BRIEF OPPOSING DEFENDANTS’ MOTION TO DISMISS

                   * * * ORAL ARGUMENT REQUESTED * * *
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             COUNTER-STATEMENT OF ISSUE PRESENTED

       Defendants suggest three issues, the first and third of which are moot. The

remaining issue is:

1.     Are Defendants White, McIntire and Roesler entitled to qualified immunity

       from Plaintiff’s 42 U.S.C § 1983 claims?

Plaintiff Heykoop answers:      No.

Defendants answer:              Yes.

     CONCISE STATEMENT OF REASONS FOR PLAINTIFFS’ POSITION

       Plaintiff Heykoop owns a towing business. Like other towing companies,

Heykoop gets a large percentage of revenue by being on lists of towing companies

that police departments use for removing vehicles from accident scenes, etc.

Heykoop reported illegal conduct to law enforcement authorities, leading to the

conviction of a corrupt police chief, and an Attorney General investigation that led

to the further charging and conviction of Michigan State Police (“MSP”) officers for

the same type of illegal conduct.

       Defendants are MSP officers who retaliated against Heykoop by summarily

removing his company from the towing lists used at MSP Posts, causing him to lose

a considerable amount of business and revenue. Defendants’ actions (among other

things) violated MSP Official Order 48, which sets forth detailed requirements

regarding towing companies, including the right to equal treatment, and the rights to



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notice and an opportunity to respond to any alleged complaints before being

removed from any towing list.

      Defendants’ actions violated Heykoop’s First Amendment (right to petition)

and Fourteenth Amendment (equal protection and due process) rights, under “clearly

established” law, and constituted an unlawful conspiracy. Any competent official in

Defendants’ positions would have known that they violated Heykoop’s rights.

Therefore, Defendants are not entitled to qualified immunity.

        CONTROLLING OR MOST APPROPRIATE AUTHORITY

1.    U.S. Const. amend. I.


2.    U.S. Const. amend. XIV.


3.     42 U.S.C § 1983.


4.   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555; 127 S. Ct. 1955; 167 L. Ed. 2d
     929 (2007).


5.    Gable v Lewis, 201 F.3d 769, 772 (6th Cir. 2000).


6.    Lucas v Monroe Cty., 203 F.3d 964, 972 (6th Cir. 2000).


7.    O’Hare Truck Serv., Inc. v. City of Northlake, 518 U.S. 712, 717; 116 S. Ct.
      2353; 135 L. Ed. 2d 874 (1996).


8.    Warren v City of Athens, Ohio, 411 F.3d 697, 710 (6th Cir. 2005).



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9.    Bd. of Regents of State Colleges v. Roth, 408 U.S. 564, 577; 92 S. Ct. 2701;
      33 L. Ed. 2d 548 (1972).


10.   Perry v. Snidermann, 408 U.S. 593, 601; 92 S. ct. 2694; 33 L. Ed. 2d 570
      (1972).


11.   Gregg v. Larson, 732 F. Supp. 849 (E.D. Tenn. 1989).


12.   Pritchett v. Alford, 973 F.2d 307 (4th Cir. 1992).


13.   Abercrombie v. City of Catoosa, 896 F.2d 1228 (10th Cir. 1990).


14.   Stillwagon v. City of Delaware, 175 F. Supp. 3d 874, 902 (S.D. Ohio, 2016).




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            INTRODUCTION AND FACTUAL BACKGROUND 1

      Plaintiff John Heykoop (“Heykoop”) 2 does business as Eagle Towing, which

has been towing, storing, and recovering vehicles for 73 years. Like other towing

companies, much of Heykoop’s business comes from being on lists that police

departments use for contacting towing companies to remove vehicles from

accidents, etc. He was on the No-Preference Wrecker Rotation List (“No-Pref List”)

for the Michigan State Police (“MSP”) posts in Hart and Rockford, Michigan. Those

posts were, and are, governed by the MSP’s Official Order 48, which sets forth the

Statewide Wrecker Policy and Procedures (Complaint, Exhibit A, §48.3).

      Heykoop discovered that Robert Wilson (then the Police Chief of the Village

of Shelby in Oceana County) was mishandling fees collected for salvage title

inspections. Heykoop reported Wilson’s illegal conduct to law enforcement

authorities, leading to Wilson’s conviction. The State Attorney General also

commenced an investigation, leading to several MSP officers being charged or

convicted of the same misconduct.




1
 The following facts are condensed from Plaintiff’s Complaint as relevant for
Defendants’ Rule 12(b)(6) motion, and must be accepted as true for purposes of that
motion, as indicated in the Standard of Review section below.
2
  Parties are referenced by only their last names for clarity and convenience. No
disrespect is intended.

                                        1
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         Wilson was a close friend of Oceana Sheriff, Craig Mast, who sent an email

to defendant Jeffrey White (the commander of the Hart MSP Post) telling White to

remove Heykoop from the Hart Post’s No-Pref List. White did so pursuant to a letter

asserting only that the removal was due to “the quality and type of service” provided

by Heykoop (Complaint, Exhibit B). White’s letter made no reference to Official

Order 48, and did not give Heykoop any opportunity to respond to any concerns

(despite explicit complaint procedures including notice of specific allegations and

an opportunity to be heard under §48.3.12).

         Defendant Chris McIntire (the commander of the Rockford MSP Post)

similarly removed Heykoop from the Rockford Post’s No-Pref List, but did not even

offer a pretextual reason for doing so. The third individual defendant, David Roesler,

is the commander of District 6 - West, which includes the Hart and Rockford MSP

Posts.

         Defendants stonewalled Heykoop’s attempts to get back on the No-Pref Lists

(Complaint, Exhibits C, D and E), and threatened to interfere with Heykoop’s

additional private contract to provide towing services at a music festival (Complaint,

Exhibit F).




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         On June 5, 2018, Heykoop started this action by filing his Complaint alleging

violations of 42 U.S.C § 1983 (Counts I-IV) 3 and a State law claim for tortious

interference with a business expectancy and relationship (Count V). On July 11,

2018, in lieu of filing an answer, Defendants filed their pending Motion to Dismiss.

         Heykoop opposes the Motion, except for two matters. First, Heykoop

acknowledges that his constitutional claims against the MSP under 42 U.S.C § 1983

do not overcome the MSP’s Eleventh Amendment immunity. Second, Heykoop

acknowledges that his Count V (which essentially sought an injunction against

defendants MSP and White interfering with Heykoop’s music festival contract) is

moot because the music festival is over. Thus, the MSP may properly be dismissed

as a party, and Count V may be dismissed in its entirety. 4

         The remainder of Heykoop’s Complaint (Counts I-IV, alleging 42 U.S.C §

1983 claims against White, McIntire, and Roesler (for simplicity going forward, the



3
  42 U.S.C § 1983 relevantly states: “Every person who, under color of any statute,
ordinance, regulation, custom, or usage, of any State or Territory or the District of
Columbia, subjects, or causes to be subjected, any citizen of the United States or
other person within the jurisdiction thereof to the deprivation of any rights,
privileges, or immunities secured by the Constitution and laws, shall be liable to the
party injured in an action at law, suit in equity, or other proper proceeding for redress
. . . .”
4
 Heykoop reserves all other rights, including those relating to the amendment of his
Complaint. Heykoop also notes that he does not entirely agree with Defendants’
analysis, but declines to discuss matters that do not affect the ultimate result of the
pending Motion.


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“Defendants”) for retaliating against him for reporting illegal conduct to law

enforcement officials) pleads viable claims under clearly established law. Any

competent official in Defendants’ positions would have known that they violated

Heykoop’s rights. Therefore, Defendants’ Motion to Dismiss should be denied

except as indicated above. Additional detail is discussed below where it is best

understood in context.

                             STANDARD OF REVIEW

      Defendants move for dismissal under Fed. R. Civ. P. 12(b)(6) (failure to state

a claim on which relief can be granted), but often suggest that they should prevail

because Plaintiff allegedly has not satisfied some evidentiary standard. Such

suggestions are premature at best, and perhaps can be revisited in the context of a

Rule 56 motion for summary disposition following discovery. Defendants have not

even filed an answer, so the Court’s review is limited to the Complaint.

      “A pleading that states a claim for relief must contain . . . a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.

8(a). Detailed factual allegations are not required. Bell Atl. Corp. v. Twombly, 550

U.S. 544, 555; 127 S. Ct. 1955; 167 L. Ed. 2d 929 (2007). Dismissal is appropriate

only if, accepting as true all the facts alleged in the complaint, a plaintiff has not

pleaded “enough facts to state a claim to relief that is plausible on its face.” Twombly,

supra, 550 U.S. at 570.



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      Plausibility means more than a sheer possibility, but it is not a probability

requirement. It just means enough facts “to raise a reasonable expectation that

discovery will reveal evidence” of the claim. Id, 550 U.S. at 556; Ashcroft v. Iqbal,

556 U.S. 662, 678; 129 S. Ct. 1937; 173 L. Ed. 2d 868 (2009) (“A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged”).

                                    ARGUMENT

I.    DEFENDANTS’ RETALIATION AGAINST HEYKOOP FOR
      REPORTING ILLEGAL CONDUCT TO LAW ENFORCEMENT
      AUTHORITIES   VIOLATED    “CLEARLY  ESTABLISHED”
      CONSTITUTIONAL GUARANTEES, SO DEFENDANTS ARE NOT
      ENTITLED TO QUALIFIED IMMUNITY. 5

      Defendants correctly observe that there is a two-part test for qualified

immunity (brief, p 6). “In § 1983 constitutional torts like this one, qualified

immunity prevents government officials from being held liable if (1) the officers did

not violate any constitutional guarantees or (2) the guarantee, even if violated, was

not ‘clearly established’ at the time of the alleged misconduct.” Arrington Bay v.

City of Bedford Heights, Ohio, 858 F.3d 988, 992 (2017).




5
  Defendants alternatively suggest that Heykoop failed to state a claim on which
relief can be granted (brief, p 6, argument heading). Defendants do not discuss this
alternative, which fails for lack of merit in any event, for the reasons discussed below
(i.e., since Defendants lack qualified immunity, Plaintiff plainly pled viable claims
in the first place).

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      Defendants do not analyze this standard, but seem to suggest that there was

no case “with a similar fact pattern that would have given ‘fair and clear warning to

officers’ about what the law requires.” (brief, pp 6-7, quoting Arrington -Bay, supra,

858 F.3d at 993, which quoted White v Pauly, ___ U.S. ___; 137 S. Ct. 548, 552;

196 L. Ed. 2d 463 (2017). Any such suggestion cannot withstand analysis, since

existing precedent placed the wrongfulness of Defendants’ conduct beyond debate.

White, supra, 137 S. Ct. at 551.

      For example, in Gable v Lewis, 201 F.3d 769, 772 (6th Cir. 2000) the Sixth

Circuit (with District Judge Cohn sitting by designation) held that First Amendment

right-to-petition law was “clearly established” prior to the defendant Ohio Highway

Patrol official’s retaliation against a towing company operator for filing a complaint

with the Ohio Highway Patrol, so the “doctrine of official immunity is inapplicable.”

      Defendants also later acknowledge clearly established First Amendment law:

“’[P]lacement on a municipal tow rotation list is one such benefit that may not be

denied a person because of his constitutionally protected speech.’” (brief, p 9,

quoting Lucas v Monroe Cty., 203 F.3d 964, 972 (6th Cir. 2000), citing O’Hare Truck

Serv., Inc. v. City of Northlake, 518 U.S. 712, 717; 116 S. Ct. 2353; 135 L. Ed. 2d

874 (1996).

      Examples in other areas of the law are discussed below in context, following

a further discussion regarding Heykoop’s First Amendment claim.



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      Defendants relegate to a footnote their additional unfounded suggestion that

Heykoop did not allege that Roesler was personally involved in the constitutional

violations, and that claims against him in his supervisory capacity should be

dismissed (brief, p 6, n 1). See generally, Iqbal, supra, 556 U.S. at 677. Defendants’

suggestion lacks merit and relevance. Although as a matter of fact Roesler was White

and McIntire’s supervisor (Complaint, paragraphs 6-8), the Complaints’ legal

allegations against Roesler are for his own misconduct. Indeed, Roesler was the

primary actor in Defendants’ stonewalling of Heykoop’s attempts to get back on the

No-Pref Lists, ultimately forcing this litigation (e.g., Complaint, paragraphs 20-23,

38, 55, and Appendices C-E).

A.    First Amendment Retaliation.

       Count II of the Complaint alleges First Amendment retaliation. Defendants

assert a three-part test to “prevail” on a First Amendment retaliation claim (brief, p

9). To the extent that the test may be applicable to the pending Motion, the Lucas

Court stated it as follows: “To prevail on their retaliation claim, Plaintiffs must

establish (i) they were engaged in constitutionally protected conduct; (ii) that

Defendants’ adverse action caused them to suffer an injury that would likely chill a

person of ordinary firmness from continuing to engage in that conduct; and (iii) that

the adverse action was motivated at least in part as a response to the exercise of their

constitutional rights.” 203 F.3d at 973.



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       Defendants contest the first element, asserting: “Plaintiff cannot show that he

was participating in constitutionally protected activity . . . Plaintiff’s cooperation

with law enforcement was not protected activity covered by the First Amendment”

(brief, p 10).

       Defendants’ assertion is plainly wrong, and tellingly unsupported by any

authority. The First Amendment’s Petition Clause protects “the right of the people .

. . to petition the Government for a redress of grievances.” U.S. Const. amend. I. In

Gable, supra, the Court explained in part that California Transport v. Trucking

Unlimited, 404 U.S. 508; 92 S. Ct. 609; 30 L. Ed 2d 642 (1972) “clearly establishes

that the submission of complaints and criticisms to nonlegislative and nonjudicial

public agencies like a police department constitutes petitioning activity protected by

the petition clause.” 201 F.3d at 771. See also, Cooper v Smith, 98 F. 3d 761, 765

(11th Cir. 1996) (“An analysis of the case law reveals that it was clearly established

at the time [Sheriff] refused to renew [Deputy’s] commission that it was a violation

of [Deputy’s] First Amendment rights to take adverse action against him for

cooperating with an official law enforcement investigation’”). 6


6
   Much of the case law involves public employees and therefore the heightened
standard of the “public concern” test (essentially, to maintain order, a governmental
agency may punish an employee for speech that is a matter of “private” concern
rather than “public concern”). Defendants do not claim that the test applies here, and
it does not, since Heykoop is a private business person. Gable, supra, 201 F.3d at
771-72. Moreover: “There can be no doubt that corruption in a police department is
an issue of public concern.” Cooper, supra, 89 F.3d at 765.

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      Defendants do not contest the second element (that their adverse action caused

Heykoop to suffer an injury that would likely chill a person of ordinary firmness

from continuing to cooperate with law enforcement). The chilling effect is also

beyond credible dispute. See, for example, O’Hare Truck Service, supra, 518 U.S.

at 723 (“A national association of towing and recovery service operators, appearing

as amicus, estimates that 75 percent of towing companies provide services in

connection with government requests, the referrals generating between 30 and 60

percent of their gross revenues”); Lucas, supra, 203 F.3d at 974 (“There is no doubt

that such conduct [being removed from a towing list, thus ending the opportunity to

receive towing business] would deter the average wrecker service operator from

voicing similar criticisms of the Sheriff”).

      Defendants do challenge the third (retaliatory motive) element, first

contending: “Defendants based their decision on Plaintiff’s ‘quality and type’ of

service,’ and Plaintiff admits that at least one vehicle owner lodged a complaint

about Eagle Towing” (brief, pp 10-11). Defendants misread (or misconstrue) the

Complaint, which relevantly states:

      15. On or about November 9, 2017, Sheriff Mast removed Plaintiff
      from its wrecker rotation. On the same day he sent an email to
      Defendant White advising him to do the same. The removal was
      allegedly based on one complaint from a vehicle owner over
      Plaintiff’s customary charges, which had been properly submitted to
      and paid without objection by the owner’s automobile insurance carrier.




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      16. On or about November 13, 2017, Defendant White sent a letter
      to Plaintiff informing Plaintiff that the Hart Post was removing
      Plaintiff from its No-Pref List. This letter did not refer to or mention
      any violation of Official Order 48, but rather stated the reason for
      removal as “the quality and type of service” provided by Plaintiff
      within the Post area. No other specifics were provided, nor was
      Plaintiff ever given an opportunity to respond to any concerns regarding
      the same. A copy of this letter is attached as Exhibit B.
      17.    Subsequent to Defendant White’s letter, Defendant McIntire
      also removed Plaintiff from the No-Pref List, for the Rockford Post,
      also without cause.
                                  *      *     *
      19. The stated reason in Sheriff Mast’s and Defendant White’s
      letters for Plaintiff’s removal is a pretext; the true reason for the
      removal is retaliation for Plaintiff’s having reported law
      enforcement, and Sheriff Mast’s personal friend, in particular, for
      improper handling of salvage title inspection fees.” (Emphasis added).


      Thus (and as further discussed in the Equal Protection and Due Process

sections below), the Complaint plainly states that only one Defendant (White)

offered any reason for removing Heykoop, and even that reason was a pretext. The

only reference to a complaint against Heykoop was with regard to non-defendant

Mast’s pretext for removing Heykoop from another list, which is not at issue here.

There is no basis for Defendants to assert that the alleged complaint even has a

connection to Defendants removing Heykoop from the No-Pref Lists, let alone that




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it provided “justification for Eagle Towing’s removal from the No-Preference Lists

independent of plaintiff’s alleged protected conduct” (brief, p 11). 7

      Defendants further assert that “Plaintiff’s cooperation with law enforcement

officials (the protected activity alleged) occurred in June 2015 – more than two years

prior to Eagle Towing’s removal from the No-Preference Lists (the adverse action

alleged). This passage of time renders any causal connection between the protected

activity and the adverse action too attenuated to meet the standard for First

Amendment retaliation” (brief, p 11). There is no such time bar for First Amendment

retaliation claims. Defendants appear to have misread caselaw reflecting that

retaliation can rarely be supported with direct evidence of intent, so retaliatory

motive can be inferred from circumstantial evidence like the timing of events, with

the strength of the inference depending in part on temporal proximity. See, for

example, Vereecke v Huron Valley School Dist., 609 F.3d 392, 400-401(6th Cir.

2010); Hazel v. Quinn, 933 F. Supp. 2d 884, 888-90 (E.D. Mich. 2013). See also,

Lucas, supra, 203 F.3d at 975-76 (explaining, in the context of a political patronage

discussion, that a “smoking gun” is not required, instead, a jury can reject the




7
  Defendants’ assertion of an “independent justification” also appears to have no
relevance, since Defendant’s own three-part test (quoted above) requires only partial
causation.


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defendant’s explanation and infer an improper motive from circumstantial

evidence).

      While the passage of time may generally require a plaintiff to supply

additional evidence, this is a Rule 12(b)(6) Motion where the Complaint’s factual

allegations are assumed to be true (as discussed in the Standard of Review). The

temporal proximity is also a lot closer when one considers the timing of Wilson’s

conviction and sentencing, and the State Attorney General’s further criminal

investigation, charging and conviction of MSP officers (Complaint, paragraphs 13

and 14).8 In any event, at this point (before discovery has a chance to develop the

evidence), Defendants’ suggestion that Heykoop has failed to carry his evidentiary

burden lacks relevance.

B.    Equal Protection.

      Count I of the Complaint alleges an Equal Protection violation. The

Fourteenth Amendment provides, in part: “No state shall . . . deny to any person

within its jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV, §1.

Defendants correctly note (brief, p 7) that in Warren v City of Athens, Ohio, 411 F.3d

697, 710 (6th Cir. 2005), the Court stated: “Equal protection claims can be brought


8
  News organizations also report ongoing investigations into widespread corruption
(essentially towing companies bribing public officials, who in turn, reward their
benefactors with lucrative profits from a greater share of an area’s towing business,
while punishing those who oppose such illegal practices by restricting their towing
businesses, with corresponding economic losses).

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by a ‘class of one,’ where the plaintiff alleges that the state treated the plaintiff

differently from others similarly situated and that there is no rational basis for such

difference in treatment.”

      Defendants do not dispute that they treated Heykoop differently than other

towing companies. Instead, they claim that that White’s letter alleged a “rational

basis” to remove him from the No-Pref Lists based on “the quality and type of

service that Eagle Towing has provided” (brief, p 8). As discussed above, the

Complaint plainly states that only one Defendant (White) offered any reason for

removing Heykoop, and even that reason was a pretext. Defendants also go on to

acknowledge (brief, p 8) that Paragraph 19 of the Complaint (fully quoted above)

states that the alleged reason in White’s letter “is a pretext; the true reason for the

removal is retaliation for Plaintiff’s having reported law enforcement, and Sheriff

Mast’s personal friend, in particular, for improper handling of salvage title

inspection fees.” (Emphasis added).

      Defendants assert that there was an (alleged) complaint against Heykoop, but

he “does not allege that MSP received complaints about any other towing company

who, by contrast, remained on the No-Preference lists” (brief, p 8). As discussed

above, the only reference to a complaint against Heykoop was with regard to non-

party Mast’s pretext for removing Heykoop from another list, which is not at issue

here. There is no basis for Defendants to assert that the MSP ever received any



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complaint against Heykoop. There is also no basis for Defendants to assert that the

alleged complaint indicated by Mast has any connection to Defendants removing

Heykoop from the No-Pref Lists.

      Defendants also attempt to support their “rational basis” claim by asserting

that there are “requirements for towing companies outlined in MSP Official Order

48” (brief, p 8). It is true that Official Order 48 sets forth “requirements for towing

companies,” but Defendants violated those requirements.

      More specifically, even if there were a complaint against Heykoop filed with

the MSP (and there is no reason to believe there was), then Official Order 48 set

forth specific requirements that Defendants violated, including (1) creation and

retention of documentation regarding the complaint (there is none), (2) treating

Heykoop the same as other towing services (Defendants did not), (3) providing

notice of the complaint to Heykoop, and an opportunity to cure alleged concerns and

therefore remain on the No-Preference List (Defendants – including White’s letter

on its face - provided no notice of any complaint, nor any opportunity for Heykoop

to remain on the No-Preference List), and (4) giving Heykoop an opportunity to be

heard “before administrative or disciplinary action can be taken.” (Defendants –

including White’s letter on its face - gave Heykoop no opportunity to be heard at

all). Official Order 48’s Complaint Procedures relevantly state:

      “COMPLAINT PROCEDURES



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     “A. Complaint Against a Wrecker Service.

     “(1) Problems with or complaints about a wrecker service shall be
          documented by the work site commander. The documentation
          shall be retained for the duration of the wrecker service’s
          contract with the department, or their time on the wrecker list,
          plus two years.

                                 *     *      *

     “(4) Each wrecker service shall be held to identical standards of
          conduct or performance.

     “(5) When a complaint is received concerning the performance or rate
          change of a wrecker service or the service is not adhering to the
          requirements established by this Order, the complaint shall be
          immediately investigated.

     “a.   Unless extenuating circumstances exist, a wrecker service shall
           not have their contract cancelled or be removed from the no-
           preference wrecker call list without an investigation by the
           work site commander or their designee.

     “b.   If it is found that the wrecker service failed to comply with the
           requirements of this order, a written notice shall be sent
           describing the complaint and the action needed to maintain a
           position on the no-preference wrecker call list.

     “c.   Wrecker services shall be notified of any non-compliance with
           accepted standards of conduct in a timely manner, and advised
           they have a right to an appeal in writing to the work site
           commander before administrative or disciplinary action can be
           taken. The written notice shall indicate that additional
           complaints could result in removal from the list” (Official Order
           48, §48.3.12, attached at Complaint, Appendix A. Emphasis
           added).

     Official Order 48’s Complaint Procedures repeatedly use the term “shall,”

which denotes a mandatory duty and excludes the idea of Defendants having any

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administrative discretion to act otherwise. Macomb Co. Rd. Comm’n. v. Fisher, 170

Mich. App. 697, 700; 428 N.W.2d 744 (1988); Southfield Twp. v Drainage Bd., 357

Mich. 59, 76-77; 97 N.W.2d 281 (1959) (“the word ‘shall’ is mandatory and

imperative and, when used in a command to a public official, it excludes the idea of

discretion”).

         Defendants suggest that Heykoop’s retaliation allegations do not sufficiently

    allege “animus or ill-will” against them (brief, p 8-9). This suggestion is an

    unfounded attempt to fit within language from Warren, supra.9 Defendants neglect

    that “retaliate” means “to repay (as an injury) in kind . . . to get revenge.” Merriam

    Webster’s Collegiate Dictionary (11th ed). 10

         Heykoop’s Complaint satisfies Fed. R. Civ. P. 8(a), as discussed above in the

    Standard of Review. In the interest of civility, Heykoop avoided using more

    inflammatory language to describe how Defendants took revenge on him due to

    his efforts to help convict criminals. Moreover, the “animus or ill will” option (in



9
  The Warren Court stated: “A ‘class of one’ plaintiff may demonstrate that a
government action lacks a rational basis in one of two ways; either by ‘negativ[ing]
every conceivable basis which might support’ the government action or by
demonstrating that the challenged government action was motivated by animus or
ill will.” 411 F. 3d at 711 (citations omitted).
10
  There are various dictionaries, but the Michigan Supreme Court recently used this
dictionary in Covenant Medical Center v State Farm Mut. Ins. Co., 500 Mich. 191;
895 N.W.2d 490 (2017) and City of Coldwater v Consumers Energy Co., 500 Mich.
158; 895 N.W.2d 154 (2017).

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the quote from Warren above) concerns an evidentiary demonstration so it does

not apply at this Rule 12(b)(6) stage of the proceedings. Going forward in this case,

the option may not even be necessary because (1) Defendants do not dispute that

they treated Heykoop differently than other towing companies; and (2)

Defendants’ multiple violations of Official Order 48 and other misconduct

(outlined above) reflects that they had no rational basis for their unique, detrimental

treatment of Heykoop. In any event, Heykoop pled a viable Equal Protection claim,

and Defendants have no basis in fact or law to claim qualified immunity.

C.    Due Process.

      Count III of the Complaint alleges a Due Process violation. The Fourteenth

Amendment provides, in part: “No State shall . . . deprive any person of life, liberty,

or property, without due process of law.” U.S. Const. amend. XIV, §1. “Procedural

due process generally requires that the state provide a person with notice and an

opportunity to be heard before depriving that person of a property or liberty interest.”

Warren, supra, 411 F.3d at 708 (finding procedural due process violation).

      Defendants do not claim that they provided Heykoop with any notice or

opportunity to be heard (nor is there any basis for Defendants to make such a claim,

as discussed in part above in the Equal Protection section). Instead, Defendants

challenge only the preliminary requirement that Heykoop must have a property

interest subject to due process protection (brief, pp 11-12). Defendants’ abstract



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argument makes no relevant point in the context of this case, and ignores that

paragraph 48 of the Complaint plainly states: “Plaintiff has a protected property

interest in its placement on the No-Pref List pursuant to MSP policy as set out in

Official Order 48.”

      More specifically, Defendants correctly (but irrelevantly) point out that a mere

unilateral expectation of continuing to receive a benefit is not enough to create a

property interest. 11 Defendants then note that in Lucas, supra, and another case that

followed Lucas, the courts found no protected property interest in remaining on a

towing list. Defendants then summarily conclude that Heykoop also had no property

interest in remaining on the No-Pref Lists. Defendants completely disregard the facts

and avoid any analysis. The Lucas Court explained, in part:

      “’[A] property interest exists and its boundaries are defined by “rules
      and understandings that stem from an independent source such as state
      law – rules or understandings that secure certain benefits that support
      claims of entitlement to those benefits.”’ Bailey v. Floyd County Bd. of
      Educ., 106 F.3d 135, 141 (6th Cir. 1997) (quoting Roth, 408 U.S. at 577,
      92 s. Ct. 2701).

      “In the instant case, however, Plaintiffs can point to no ordinance,
      contract or other ‘rules or mutually explicit understandings’ that
      support their claim of entitlement to remain on the stand-by list. See



11
  “To have a property interest in a benefit, a person clearly must have more than an
abstract need or desire for it. He must have more than a unilateral expectation of it.
He must, instead, have a legitimate claim of entitlement to it.” Bd. of Regents of State
Colleges v. Roth, 408 U.S. 564, 577; 92 S. Ct. 2701; 33 L. Ed. 2d 548 (1972).


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      Perry v. Snidermann, 408 U.S. 593, 601; 92 S. ct. 2694; 33 L. Ed. 2d
      570 (1972).” Lucas, supra, 203 F.3d at 978. 12

      In stark contrast, Heykoop has a protected property interest based on Official

Order 48, as alleged paragraph 48 of Heykoop’s Complaint (quoted above).

Defendants also acknowledge “requirements for towing companies outlined in MSP

Official Order 48” (brief, p 8). Numerous Courts have found protected property

interests based on similar facts. For example, in Gregg v. Larson, 732 F. Supp. 849

(E.D. Tenn. 1989), the Court held that the plaintiff had the required “legitimate claim

of entitlement” (quoting Roth, supra) in remaining on the wrecker tow list based on

“rules or mutually explicit understandings” (quoting Perry, supra), reasoning that

“several references to and procedures for removal or suspension from the list to

compel compliance with the regulations reflect the mutual nature of the relationship

established by inclusion on the list.” 732 F. Supp. at 853.

      Similarly, Official Order 48’s Complaint Procedures (quoted in part above in

the Equal Protection section) sets forth detailed procedures for towing companies to

comply with certain requirements or perhaps (after notice and an opportunity to be

heard regarding allegations) be removed from No-Pref Lists. Thus, Official Order



12
   The Perry Court more fully stated: “A person’s interest in a benefit is a property
interest for due process purposes if there are such rules or mutually explicit
understandings that support his claim of entitlement to the benefit and that he may
invoke at a hearing.” 408 U.S. at 601. The Court also explained that a property right
is not required to maintain a First Amendment retaliation claim. 408 U.S. at 597.

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48 constitutes “rules or mutually explicit understandings” that gave Heykoop a

“legitimate claim of entitlement,” and therefore a property interest protected by due

process, to remain on the No-Pref lists.

      The Lucas Court, on completely different facts in that case, distinguished

Gregg, stating:

      “In this case, there are no such established ‘procedures’ for suspension
      or removal. The written policies of the Sheriff’s Department – however
      unfair they may be – explicitly provide that a wrecker company may be
      immediately removed from the list upon making a complaint to an
      unauthorized person. As a result, these policies did not create a
      legitimate claim of entitlement to remaining on the tow list even after
      making such complaints.” Lucas, supra, 203 F. 3d at 978.

      Defendants do not, and cannot, point to any facts here that are even remotely

analogous to Lucas, where “written policies . . . explicitly provide[d] that a wrecker

service may be immediately removed from the list.” Defendants also ignore cases

(like Gregg) with analogous facts. Moreover, the right to not be summarily removed

from a towing referral list administered under state law is “clearly established,” and

Official Order 48 set forth explicit requirements that Defendants were required to

follow. Any reasonably official in Defendants’ positions would have known that

they were violating Heykoop’s rights. Therefore, Defendants’ qualified immunity

defense fails.

      Further guidance by analogy is provided by Pritchett v. Alford, 973 F.2d 307

(4th Cir. 1992), where a wrecker company operator provided information to a



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highway department internal investigation regarding a “kickback” scheme in which

highway patrol officers allegedly took money in exchange for calling certain

wrecker companies to accident scenes before their names appeared at the top of the

rotating wrecker list. The wrecker company was then summarily removed from the

list (like Defendants did to Heykoop). The Court held that a wrecker service had a

protected property interest in remaining on a wrecker-referral list administered by

the South Carolina Highway Patrol pursuant to State regulations, and rejected the

defendants’ qualified immunity defense because the constitutional right to not be

summarily removed from the list was “clearly established.” 973 F.2d at 317-18.

More than a quarter century ago, the Court set forth the following explanation that

still applies today:

       “We agree with the district court that any reasonably competent official
      in [the police official’s] position charged, as they would be, with
      knowing the general due process principles above outlined, must also be
      charged with making the obvious application of those principles to the
      facts of this case. That being on the list was a benefit having economic
      value was manifest. . . That being on it by virtue of this state regulatory
      regime insured that it was a legally enforceable entitlement rather than
      a mere unilateral expectation was also manifest to any reasonably
      competent official charged with knowledge, as they must be, of the
      regulatory regime they were required to enforce . . .

       “The district court rightly held that the specific constitutional right
      asserted by [the wrecker company and its owner] not to be removed
      summarily from the wrecker list was a clearly established right of which
      any reasonably competent official in [the police official’s] position
      would have known. We therefore affirm the court’s rejection, as a matter
      of law, of [the police official’s] qualified immunity defense.” (973 F.2d
      at 317-18).

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      Another analogous case is Abercrombie v. City of Catoosa, 896 F.2d 1228

(10th Cir. 1990), where the operator of a wrecker service testified as a witness against

the defendant City’s mayor, and supported a different mayoral candidate. The

wrecker service was then removed from the wrecker rotation log used by police

dispatchers, and therefore no longer received wrecker referrals from the police. The

Court held that the wrecker service had a property interest protected by due process

in continuing to be on the wrecker rotation log, which was regulated under state law.

896 F.2d at 1231-32.

      In summary, Heykoop had a property interest protected by Due Process.

Defendants also do not and cannot dispute that they removed Heykoop from the No-

Pref Lists without notice and an opportunity to be heard. Therefore, Plaintiff pled a

viable Due Process claim. Defendants violated Heykoop’s “clearly established”

rights, so their qualified immunity defense fails.


D.    Conspiracy.

      Count IV of the Complaint alleges a conspiracy. Defendants suggest that

Heykoop did not plead it with sufficient specificity (brief, p 13). The Court recently

found that “the pleadings are sufficient to plausibly infer” a civil conspiracy in

Stillwagon v. City of Delaware, 175 F. Supp. 3d 874, 902 (S.D. Ohio, 2016). The

Court summarized the claim and pleading standard as follows:



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      “A civil conspiracy under § 1983 is an agreement between two or more
      persons to injure another by unlawful action. Bazzi v. City of Dearborn,
      658 F.3d 598, 602 (6th Cir. 2011). To prevail on a civil conspiracy
      claim, a plaintiff must show that (1) a single plan existed, (2) the alleged
      coconspirator shared in the general conspiratorial objective, and (3) an
      overt act was committed in furtherance of the conspiracy that caused
      injury to the plaintiff. Id. Civil conspiracy must be pleaded with some
      degree of specificity. Spadafore v. Gardner, 330 F.3d 849, 854 (6th Cir.
      2003). Vague and conclusory allegations are insufficient to state a
      claim. Id. A plaintiff, however, need not allege or produce direct
      evidence of a conspiracy; ‘circumstantial evidence may provide
      adequate proof.’ Id. (quoting Weberg v. Franks, 229 F.3d 514, 528 (6th
      Cir. 2000)).” 175 F. Supp. 3d at 901-902.

     Defendants assert that Heykoop “merely offers . . . conclusory statements”

(brief, p 13). Defendants neglect that the first paragraph of Count IV (the final §

1983 count) “incorporates all preceding paragraphs” (Complaint, paragraph 59). As

discussed above, those paragraphs describe how Defendants retaliated against

Heykoop for reporting Wilson’s criminal conduct to the authorities (the plan and

conspiratorial objective), and how Defendants summarily removed Heykoop from

No-Pref Lists, causing him significant economic loss due to the reduction in towing

referrals (overt acts that caused injury to Heykoop). Heykoop’s allegations are

“sufficient to plausibly infer” that Defendants engaged in a civil conspiracy.

Stillwagon, supra, 175 F. Supp. 3d at 902.

      To the extent that the Court may disagree, Heykoop requests that the Court

grant leave to amend the Complaint under Fed. R. Civ. P. 15(b). Defendants

maintain, however, that the present Complaint is sufficiently clear, and that adding



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detail (or redundancy) as Defendants suggest would simply add time and expense to

this litigation, with no practical benefit.

                 CONCLUSION AND REQUEST FOR RELIEF

      Heykoop acknowledges that the MSP may be dismissed as a party based on

the Eleventh Amendment, and that Count V may be dismissed in its entirety base on

mootness; however, the remainder of Heykoop’s Complaint (Counts I-IV, alleging

42 U.S.C § 1983 claims against White, McIntire, and Roesler for retaliating against

Heykoop for reporting criminal conduct to law enforcement officials) pleads viable

claims for which there is no qualified immunity under “clearly established” law.

Therefore, Heykoop respectfully requests that the Court deny Defendants’ Motion

to Dismiss Counts I-IV against Defendants White, McIntire, and Roesler.

                                  Respectfully submitted,

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Dated: August 3, 2018             By: __/s/John S. Brennan_______________
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